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      EXHIBIT A
                        UNITED STATES DISTRICT COURT
                           DISTRICT OF MINNESOTA




    CHERYL SAGATAW, DEANTHONY
    BARNES, ROBERTA STRONG,
    TRAVIS NELOMS, ALVIN
    BUTCHER, ADRIAN TIGER,
    CHANCE ASKENETTE, DEVEN                                Civil Action
    CASTON, LOLA HEGSTROM, and
    RONDEL APPLEBEE, on behalf of                   0:24-cv-00001-ECT/TNL
    themselves and a class of
    similarly-situated individuals,

                                                     SECOND AMENDED
                              Plaintiffs,              CLASS ACTION
                                                      COMPLAINT AND
             vs.                                       DEMAND FOR
                                                        JURY TRIAL

    MAYOR JACOB FREY, in his
    individual and official capacity,


                              Defendant.




                                   INTRODUCTION

         Plaintiffs in this case are the evicted residents of Camp Nenookaasi1, whose

human and constitutional rights Defendant Mayor Jacob Frey continues to violate.

Defendant orders law enforcement to shuffle people from one street to another to
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    “Nenookaasi” means “hummingbird” in Ojibwe.

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seize and destroy their means of survival in the name of public safety, then blocks,

underfunds, and interferes with meaningful solutions that help get people into

humane, stable housing.

      Camp Nenookaasi formed as a community-based healing camp rooted in

Native religious and cultural practices, drawing upon evidence-based harm

reduction strategies to meaningfully intervene in cycles of addiction and

houselessness. Over one hundred and eighty unhoused people, most of them

Indigenous, found refuge at Camp Nenookaasi after its initial formation in late

August of 2023. The interim stability at the first Nenookaasi location allowed

approximately one hundred of these former residents to transition from living in

day-to-day survival mode on the streets to treatment and more permanent housing.

      Instead of celebrating this miraculous success and leveraging City resources

to amplify the transformational power of community members, nonprofits, and

residents themselves working together to make change, Defendant Mayor Jacob

Frey of the City of Minneapolis launched a series of repeated evictions that pushed

Nenookaasi residents from one vacant lot to another within the same approximate

half-mile square of the East Phillips neighborhood.

      Each eviction adds hardship and trauma, and causes overdoses, relapses, and

death. Camp Nenookaasi was originally a hub for social services, housing outreach

teams, harm reduction and substance use providers, and others looking for a


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reliable place to find and provide support to residents. As Defendant Frey has

forced Plaintiffs to relocate repeatedly in the last eight and a half months, fewer

support providers are able to stay connected and Plaintiffs are harder pressed to

provide for themselves. Plaintiffs’ necessities are trashed as soon as they are

rebuilt, and Plaintiffs cannot stay in touch with providers when Defendant

repeatedly bulldozes their phones, contact lists, treatment and housing paperwork,

and places they can be found.

      Mayor Frey could choose to allocate City resources towards expanding

shelter availability, subsidizing more affordable housing, creating public health or

digital connectivity initiatives, improving sanitation services at encampments, or

any other number of worthy causes. Instead, the past year has seen taxpayer dollars

lavished on overtime for hundreds of law enforcement to drive unhoused people

out of their tents under threat of arrest, on heavy machinery to bulldoze residents’

worldly possessions into dumpsters, and on large slabs of concrete to guard the

now-unusable plots of stolen land.

      While vestiges of the relationships, care, and progress that Nenookaasi

brought to the unhoused community in Minneapolis can still be seen, the pressure

of repeated evictions reduced Nenookaasi’s ability to help residents find permanent

housing, and eventually caused Nenookaasi as a formal encampment to disband.

Survivors of Nenookaasi evictions for the most part remain unhoused. Some have


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disappeared, leaving loved ones fearing the worst. Some have obtained housing

through city programs, where they attempt to recover from the trauma and material

losses that evictions cause both directly and indirectly, by stripping unhoused

people of the modicum of safety an encampment provides.

      Nenookaasi gave residents a voice. People who had been too overwhelmed

fighting for day-to-day survival on the streets were able to advocate for

themselves, connect not only with housing workers but also with attorneys,

politicians, community organizers, and each other to clamor for better solutions

from the City of Minneapolis. From various backgrounds and perspectives, these

people continue working together, listening to each other, collaborating, and

coming up with solutions that are data- and experience-driven. But the Mayor of

Minneapolis and his evictions continue to threaten and undermine this progress.

      Defendant Frey is targeting his most vulnerable constituents, not only failing

to create a livable city for them through his own policies, but egregiously using his

power as Mayor to destroy what safety and stability they have managed to build for

themselves. Nenookaasi has been evicted from the City, but its former residents are

still here, and still suffering. Plaintiffs beg the Court to intervene to stop

Defendant’s unconstitutional and unlawful use of executive authority to continue

wreaking havoc on Plaintiffs and the entire community of South Minneapolis.




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                                 JURISDICTION

     1.      Plaintiffs’ claims arise under 42 U.S.C. § 1983, 42 U.S.C. § 12131, and

the Fourth, Eighth, and Fourteenth Amendments of the United States Constitution,

as incorporated against the States, their agencies, and their municipal divisions

through the Fourteenth Amendment.

     2.      Jurisdiction is proper in this Court pursuant to 28 U.S.C. § 1331

because Plaintiffs’ claims arise under the United States Constitution and federal

law, and pursuant to 28 U.S.C. § 1367 because this Court has supplemental

jurisdiction over Plaintiffs’ state claims, which arise out of a common nucleus of

operative facts and constitute the same case or controversy as the federal claims at

the heart of this Complaint.

                                     PARTIES

                      Representative Plaintiff Cheryl Sagataw

     3.      Cheryl Sagataw is 32 years old, an enrolled member of the Potawatomi

Nation, and a former resident of Nenookaasi who endured repeated evictions of

that Camp.

     4.      After attending high school and college in Potawotomi territory, Cheryl

worked in the food and beverage industry for ten years. She is a domestic abuse

survivor who lost her public housing in March of 2023 and became homeless.




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     5.     Since then, Cheryl has experienced numerous evictions, sweeps, and

displacements from wherever she attempts to set up shelter for herself. She was

repeatedly kicked out of the area under Interstate 94 and eventually relocated to the

reinstituted Wall of Forgotten Natives. When the Wall of Forgotten Natives was

cleared for the second time, Cheryl was one of many Plaintiffs who came to Camp

Nenookaasi in late August/early September of 2023.

     6.     Cheryl found stability, security, and great meaning living at Camp

Nenookaasi. The Camp created space for her to build community and trust, to learn

and participate in ceremonies and other culturally important practices, to grieve

losses and connect to her spirituality, to develop life skills, to access housing and

treatment resources, to stay safe from her abuser, and to plan for a future in ways

she never before thought possible.

     7.     Repeated evictions of Nenookaasi have eroded this progress towards

permanent stability, and Cheryl remains unhoused.

                    Representative Plaintiff DeAnthony Barnes

     8.     DeAnthony Barnes is a 35-year-old former resident of Camp

Nenookaasi.

     9.     He has experienced housing instability since 2011, and been a part of

many unhoused communities.




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      10.   DeAnthony moved to Camp Nenookaasi in late 2023, and described it

as “unlike any other camp I have ever been in,” notable for its “support and

resources” and “coordination of care.” In fact, DeAnthony received more

resources at Camp Nenookaasi in a two and a half month period than he ever

received when living at Avivo, and had more success as a result.

      11.   While at Nenookaasi, DeAnthony made efforts towards his sobriety

and getting into treatment, and supported his girlfriend in doing likewise.

DeAnthony observed the power of Nenookaasi in allowing people simple

necessities—like access to heat—which freed up mental capacity for people to

“advance their thought process” beyond survival. Being warm and safe empowered

DeAnthony to consider working towards permanent housing and sobriety.

      12.   DeAnthony also described how much it meant to know that there are

people who still care about him, and how Camp Nenookaasi built trust. The Camp

was a place of unity, where people from significantly different backgrounds were

able to live as family. It was also a place of historical and spiritual significance,

where Indigenous ceremonies took place and the history of colonization and the

pain and devastation experienced by Indigenous ancestors was brought to the fore.

      13.   Like most people at Camp Nenookaasi, DeAnthony experienced

numerous prior evictions in which he lost precious mementos, including pictures of

his children; valuable technological equipment containing music he has written,


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produced, and recorded; critical documents such as birth certificates and other

forms of identification; and necessities for survival including a generator, clothing,

and his tent.

      14.   DeAnthony experienced at least three evictions of Camp Nenookaasi.

With each eviction, DeAnthony lost more and more of his possessions, and his

resolve. He fears for his safety, his girlfriend’s safety, and the well-being of the

other residents who are put in danger by these ongoing evictions. The message he

hears from the evictions is that he is not allowed to be or live in his own

hometown.

                        Representative Plaintiff Roberta Strong

      15.       Representative Plaintiff Roberta Strong is a 33-year-old Bois Fort

member and former resident of Camp Nenookaasi. Roberta is disabled by a

traumatic brain injury inflicted upon her by an ex boyfriend.

      16.   Roberta was living with her grandmother and several other family

members at Little Earth, but became homeless when her grandmother died in 2018.

Roberta lived on the streets, often staying at other encampments, enduring frequent

evictions and displacements. After Roberta was evicted from the Wall of Forgotten

Natives in August of 2023, she moved into Camp Nenookaasi.

      17.   Roberta endured repeated evictions of Nenookaasi, which put Roberta

into a panic.


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      18.   Because of evictions, Roberta has lost most of her belongings–clothes,

medicine, pictures of her family, her son’s baby feet prints, and multiple forms of

identification.

      19.   Roberta has no form of identification. She struggles with getting her

basic needs met and with the ongoing impacts of her traumatic brain injury. The

unparalleled stability and community at Nenookaasi transformed her, particularly

by allowing her to give and receive care for her cousins and for others.

      20.   Constant displacement undermines this progress. Roberta remains

unhoused and subject to being evicted from a camp at a moment’s notice.

                      Representative Plaintiff Travis Neloms

      21.   Travis Neloms is a 34-year-old former resident of Nenookaasi.

      22.   He is Native Puerto Rican and African American, and lives with

several diagnosed mental health conditions.

      23.   For much of his life, Travis lived with precarious, unstable, or

nonexistent housing. For the past five years, the City has pushed Travis from one

encampment or tent site to another all around Minneapolis. Amidst constant

evictions, Travis periodically attempts to obtain housing or stay at a shelter.

      24.   Travis’s experiences trying to stay in shelters has been horrible. He was

often unable to obtain a spot, given shelters’ limited capacity. Even when he did

manage to find a spot, he found shelters to be unsafe and unhygienic, with people


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stealing each others’ belongings and with sleeping arrangements that lacked any

privacy or dignity. On multiple occasions he became ill because of staying in a

shelter. And the next morning he would face again the often impossible challenges

of finding somewhere to be during the day and the following night, and where to

store his belongings in the meantime.

      25.    Travis came to live at Nenookaasi in late 2023. In his words, “I didn’t

find Nenookaasi, Nenookaasi found me.” Being at Nenookaasi brought a level of

care, stability, safety, and hope than Travis had ever experienced.

      26.    Nenookaasi was also much safer, more peaceful, less violent for Travis

than being out on the street or in a shelter. When Travis was living on the street or

in a shelter he had a hard time retaining his belongings, but at Nenookaasi he could

keep at least the basic necessities, including life-saving items such as his

anti-seizure medications, without having to worry about whether he would still

have access to them when he needed them.

      27.    In past evictions, Travis lost thousands of dollars worth of clothes,

bicycles, tents, blankets, medications, and other staples. He lost important

documents such as court paperwork and identification. Replacing identity

documents has been an almost impossible task, given that replacing one form of

identification requires showing proof of another, and during Nenookaasi evictions

Travis lost his driver's license, social security card, and his birth certificate.


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     28.    He is attempting to rebuild his necessities, but fears that another

eviction is imminent and the rug will be pulled entirely out from under him time

and time again.

                      Representative Plaintiff Lola Hegstrom

     29.    Lola Hegstrom is a 41-year-old former resident of Camp Nenookaasi.

She is a member of Red Lake Nation, and is currently unhoused. She has PTSD,

severe depression, anxiety, and Borderline Personality Disorder, as well as

debilitating back pain that requires her to sleep upright in a chair.

     30.    After Lola was evicted from the Wall of Forgotten Natives, she came

to Nenookaasi. She stayed by herself in a tent, but enjoyed having people nearby.

Being at an encampment, especially Nenookaasi, felt safe and gave her a sense of

community. This security kept Lola with the group throughout multiple evictions.

     31.    At one point, Lola attempted to use the storage that she had heard,

secondhand, the City was offering. The City only allowed her to store one tote.

Because storage was so hard to access and because she needed access to the stored

items, she ended up having to remove even that one tote from storage.

     32.    After the fire destroyed Nenookaasi on 28th Street and 12th Avenue,

Lola moved with the other residents of Nenookaasi to 28th Street and 14th Avenue.

On July 25, 2024, Lola was asleep in her tent when law enforcement entered the

encampment at around 7AM with no prior warning or announcement and told


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everyone that they had ten minutes to gather what they could carry in one trip and

depart.

     33.    At evictions, Lola has lost jewelry, clothing, her sleeping chair, tents,

expensive purses, her childrens’ toys, her birth certificate, mental health and

medical paperwork, a generator, and more. When Lola protests to law enforcement

at evictions that she needs more time in order to pack up her belongings, law

enforcement falsely and prejudicially assume that she has stolen her belongings as

a way to justify forcing her to abandon her valuables.

     34.    Repeated evictions take a toll on Lola’s mental health. She is tired of

the assumptions, prejudice, and false solutions put forward by people who do not

understand the problem.

                     Representative Plaintiff RonDel Applebee

     35.    RonDel Applebee is a 29 year old former resident of Camp

Nenookaasi. He is a descendant of Standing Rock Oglala Sioux, and a member of

Fond du Lac Nation of Ojibwe.

     36.    RonDel has lived in Minneapolis his whole life and graduated from

Augsburg Fairview Academy. He experienced housing instability and hardship

from a young age, and suffers from PTSD, chemical dependency, anxiety, and

depression. His family has experienced tremendous losses. RonDel is committed to




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staying connected to and caring for the relatives he has left, and stays close to his

younger cousin Chance so he can look out for him.

     37.    After being evicted from the Wall of Forgotten Natives in August of

2023, RonDel joined Chance at Camp Nenookaasi. At the first Nenookaasi

eviction, he was allowed time to retrieve belongings and to help others move.

     38.    At the next Nenookaasi location, 26th and 14th, RonDel was only

allowed to make one trip out, and therefore lost the majority of his possessions,

including a folder of important documents. At that eviction lost his ID and his

social security card, which he has yet been unable to replace. He was unable to find

his family until after the next Nenookaasi location was evicted.

     39.    RonDel rejoined the group at the 28th and 12th location, then moved

with the others to 28th and 14th after the fire. While at the 28th and 14th

Nenookaasi encampment, RonDel was able to make contact with a housing worker

and apply for a referral.

     40.    After completing the referral, RonDel waited sixty days before he was

placed in housing. RonDel’s mother had also been given housing through Helix, on

an earlier timeline than his, so eventually he went to stay with her while he waited.

     41.    RonDel worried for his mother’s safety in her Helix housing

placement. He described her neighborhood as a “war zone.” Shootings happened

routinely in and around the building, with bullets flying through the window and in


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the hallways. RonDel asked his mom to sleep in the back room because he

believed that to be the safest place for her.

      42.   At around the same time that RonDel’s own Helix housing placement

came through, his mother’s entire building was condemned. Instead of finding a

new housing placement for her, Helix sent her to a shelter.

      43.   RonDel has been housed through Helix in South Minneapolis for about

two months now, but he is worried that he will be kicked out. He has gotten emails

saying that his rent is not being paid. Helix is taking half of his general assistance

payments to put towards rent and was supposed to be paying the remainder, but the

overdue notices and late fees make RonDel worry that he will soon become

homeless again due to corruption in the program ostensibly designed to help him.

                     Representative Plaintiff Chance Askenette

      44.   Chance Askenette is a 24-year-old former resident of Nenookaasi and

is Oglala Lakota, a member of Pine Ridge.

      45.   For the first twelve years of his life, Chance moved from his parents’

home to his grandmother’s to foster care and back. Chance ran away at age twelve

to avoid being taken again by child protective services, and has spent the second

half of his life homeless.

      46.   Chance was at Camp Nenookaasi since its inception. The camp gave

him safety and structure, and he stuck with the group from eviction to eviction. For


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most, Chance was only able to make one trip with his belongings when ordered to

vacate by law enforcement and was not told in advance the eviction was coming.

As a result, he has lost sentimental, expensive, life-saving, and needed belongings.

     47.    He would consider storing his belongings downtown, but has never

spoken to anyone from the Homeless Response Team or the City about it and is

unclear how that offering would work or how to use it.

     48.    He currently lives at an encampment in East Phillips with several

family members. His cousin RonDel visits often to check on him.

                       Representative Plaintiff Adrian Tiger

     49.    Adrian Tiger is a 35-year-old former resident of Camp Nenookaasi and

a member of the Standing Rock Sioux Nation. He was born and raised at Little

Earth, and has been homeless for a long time.

     50.    Adrian came to Nenookaasi when it first formed, and stayed because

he felt safer there and he liked being around family. He moved with Nenookaasi

throughout the repeated evictions. At these evictions, he often woke up to law

enforcement ordering him out of his tent and was unable to bring more than

whatever he could carry with him in one or two trips. As a result, he has lost

clothes, shoes, electronics, valuables, important papers, and identity documents.

     51.    He has attempted to obtain housing in the past, without success, and as

a result has no choice but to remain on the street.


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                       Representative Plaintiff Deven Caston

     52.    Deven Caston is 34 years old and a former resident of Nenookaasi. He

grew up in various Minneapolis suburbs, and has been homeless since about four

years ago when he and the mother of his child lost their apartment.

     53.    Being unhoused makes it hard for Deven to take care of himself. He

has ADHD and anxiety, but stopped going to therapy. A few winters ago, while

sleeping without shelter, Deven was afflicted by such severe frostbite that the toes

on his left foot fell off. He continues to experience mobility issues and severe pain

in what remains of his foot to this day.

     54.    Since moving to Nenookaasi after the eviction of the Wall of Forgotten

Natives, Deven has been evicted several times. Because of these evictions, Deven

repeatedly loses the entirety of whatever belongings he has been able to

accumulate since the last time he was evicted, aside from the occasional grocery

bag of food or clothes he is able to carry with him.

     55.    Despite his physical limitations and pain, Deven does his best to be a

good neighbor. He picks up trash in the alley where he stays, and gets hired for odd

jobs now and then doing light yard work for adjacent apartments. Deven values

contributing positively to the neighborhood. The evictions make him feel horrible,

unwanted by everyone. He picks up trash to change others’ impression of him.




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     56.    Deven remains unhoused at an encampment in the East Phillips

neighborhood, but has been attempting to get housing. A case worker was

previously helping him, but stopped coming. Deven worries that she is unable to

find him given his constant displacement, or worse–that she gave up on him.

                       Representative Plaintiff Alvin Butcher

     57.    Alvin Butcher is a former resident of Nenookaasi, a member of White

Earth, the Mississippi Band of Ojibwe, and currently lives in an encampment in

East Phillips. Alvin has PTSD, depression, and a physical disability stemming from

several botched surgeries in his right foot.

     58.    Alvin has a background in the construction industry and has lived in

South Minneapolis for most of his life in order to be close to his children. His

landlord kicked him out during the initial COVID-19 pandemic, but he did not

contest the illegality of that eviction because he was worried about potential

negative impacts on his rental history.

     59.    In November of 2023, Alvin moved into Nenookaasi and was evicted

with the group several times. He recalls having more time at that first January

eviction, but being forced out in a hurry at subsequent evictions, causing him to

lose clothes, blankets, food, important papers, and electronics.

     60.    At one eviction of Nenookaasi, law enforcement told him that if he

was not out of his tent, it would be bulldozed with him still in it.


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     61.    Alvin lives with his partner. They are not married, so going to a shelter

would mean being separated from her. He knows that she would not be safe in a

shelter given her own mental health struggles that shelters are not equipped to

handle, and says he would rather sleep on the ground in a tent with her than lie

awake in a shelter worrying about her safety.

     62.    Alvin is very concerned with cleanliness at encampments where he

stays. Like many of his fellow residents, he takes pains to keep the area clean and

wishes the City provided better sanitation services. He buys trash bags and

distributes them among other residents and encourages everyone to do their part.

     63.    The repeated evictions are challenging for Alvin emotionally. The

uncertainty and instability exacerbate his depression. He has been trying

unsuccessfully to find housing. He was approved for it, but the agency stopped

contacting him. Alvin slipped through the cracks in a broken system.

                            Represented Class Plaintiffs

     64.    Plaintiffs in the Represented Class are the other unhoused people who

found a temporary home at and experienced evictions from Camp Nenookaasi.

     65.    Upon information and belief, former Camp Nenookaasi residents have

physical and/or mental disabilities, disorders, and/or conditions, including

substance use disorders.




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     66.    Represented Plaintiffs are defined precisely by those who were evicted

one or more times from Camp Nenookaasi since its formation in August of 2023 at

the following approximate locations and dates: on 23rd Street and 13th Avenue on

January 4, 2024; from 2601 14th Street, on January 30, 2024; from 2213 16th

Avenue on February 1, 2024; and/or from 2839 14th Avenue on July 25, 2024.

     67.    These repeated evictions forced Nenookaasi as a formal encampment

to disintegrate and eventually disband, but Defendant continues to evict Plaintiffs

from one lot to another in the East Phillips neighborhood.

     68.    While each of these Plaintiffs have their own unique story—who they

are, where they come from, and what particular struggles have led them to be

otherwise unhoused—all of the Represented Class Plaintiffs experienced injuries of

the same elk and traceable to the same Defendant.

     69.    With each eviction, Plaintiffs’ shelters are bulldozed, their belongings

seized and destroyed, their beds thrown in a dumpster, their ceremonial fire and

other sacred sites desecrated, their community scattered under threat of arrest.

     70.    Aside from the few who manage to obtain and remain in housing,

Plaintiffs must rebuild following every eviction, albeit bringing fewer belongings

and more new traumas to each new site. Plaintiffs scatter and reform a few blocks

away every time, only to brace for the next round of pointless displacement.




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     71.    Represented Class Plaintiffs and their Representatives seek to enjoin

the practice of ongoing evictions, to stop the arbitrary and hostile relocation of

unhoused people from one empty lot to another in circles around south

Minneapolis. Plaintiffs ask this Court to put an end to dangerous constitutional

violations that Defendant perpetrates, at the expense of true gains in safety and

security for Plaintiffs and the community at large.

                           Defendant Mayor Jacob Frey

     72.    Defendant Jacob Frey is sued in his official and individual capacity. In

his official capacity, Defendant Frey is the Mayor of the City of Minneapolis, a

municipality incorporated in the State of Minnesota. In his personal capacity,

Defendant Frey is a resident of Minneapolis. As Mayor, Defendant Frey is

obligated to uphold the laws and ordinances of the State and City, and has

exclusive control and authority over the Minneapolis Police Department.

     73.    Defendant Frey campaigned for mayoral office on a promise to “End

Homelessness.” Instead of making good on that promise by engaging with the

community in meaningful and realistic ways, Defendant Frey has implemented

policies and initiatives to drastically increase sweeps and evictions of houseless

encampments, using his authority over the Minneapolis Police Department to

inhumanely displace people, destroy their homes, and continue the cycles of

violence and trauma faced by the City’s most vulnerable residents.


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             CLASS QUALIFICATIONS FOR CERTIFICATION

     74.    Pursuant to Federal Rules of Civil Procedure 23(a) and 23(b)(2),

named Plaintiffs Cheryl Sagataw, DeAnthony Barnes, Roberta Strong, Travis

Neloms, Alvin Butcher, Adrian Tiger, Chance Askenette, Deven Caston, Lola

Hegstrom, and RonDel Applebee bring this class action on their own behalves and

on behalf of all similarly situated evicted former residents of Nenookaasi. This

case meets the prerequisites for class formation and for the type of action brought.

                                  Class Formation

     75.    The following prerequisites allow one or more members of a class to

sue as representative parties on behalf of all members: “(1) the class is so

numerous that joinder of all members is impracticable; (2) there are questions of

law or fact common to the class; (3) the claims or defenses of the representative

parties are typical of the claims and defenses of the class; and (4) the representative

parties will fairly and adequately protect the interests of the class.” FED. R. CIV.

PRO. 23(a). This case meets these prerequisites for class certification.

     76.    Numerosity. The class is so numerous that joinder of all members is

impracticable. The practicality of joinder is evaluated on a case-by-case basis and,

while no specific numerical threshold exists in law, factors to be considered

include “the size of the class, ease of identifying its members and determining their

addresses, the facility of making service on them if joined, their geographic


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dispersion and whether the size of the individual claims is so small as to inhibit

individuals from separately pursuing their own claim.” Glenn v. Daddy Rocks, 203

F.R.D. 425, 429 (8th Cir. 2001). This case involves well-over one hundred former

residents of Camp Nenookaasi, who multiple evictions have since dispersed and

who ase a result frequently lose the means and manner of contacting supporters,

such as attorneys. Plaintiffs also are unlikely to be able to pursue claims as

individuals because they are indigent, extremely under-resourced, cannot afford to

hire private counsel, and lack physical or technological access to a courtroom.

Even for those who obtain housing, this is often only temporary.

     77.    Commonality of Questions. The case is comprised primarily of legal

and factual questions that are common to the class, based on a discrete number of

evictions within the past year, all executed by the same Defendant within the same

roughly half-mile square area. For each Plaintiff individually and for the class as a

whole, Defendant Frey violates the same Constitutional and statutory rights in a

functionally identical manner, by directing his law enforcement agents to destroy

Plaintiffs’ homes, including their property, privacy, and shelter, and disrupts their

chance at attaining sobriety and/or long-term housing, and their means of survival.

     78.    Typicality of Claims. The claims of the representative party are typical

of the claims of the class. “A class representative must be part of the class and

‘possess the same interest and suffer the same injury’ as the class members” so that


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pursuing their individual interests will advance the interests of the class. General

Telephone Co. of Southwest vs. Falcon, 457 U.S. 147, 156-157 (1982) (citing East

Texas Motor Freight System, Inc. v. Rodriguez, 431 U.S. 395, 403). Cheryl

Sagataw, DeAnthony Barnes, Roberta Strong, Travis Neloms, Alvin Butcher,

Adrian Tiger, Chance Askenette, Deven Caston, Lola Hegstrom, and RonDel

Applebee, like each of the class Plaintiffs, experienced the devastation of evictions

and are likely if not guaranteed to continue being subjected to them. By pursuing

their individual claims against ongoing evictions, they will simultaneously further

the interests of the represented class, whose harms stem from that same practice.

      79.    Adequacy. The representative Plaintiff will fairly and adequately

protect the interests of the class. “[E]ach representative’s interests must be

sufficiently similar to those of the class that it is unlikely that their goals and

viewpoints will diverge.” Turtle Island Foods, SPC v. Richardson, 425 F. Supp. 3d

1131 (8th Cir. 2019). Because Cheryl Sagataw, DeAnthony Barnes, Roberta

Strong, Travis Neloms, Alvin Butcher, Adrian Tiger, Chance Askenette, Deven

Caston, Lola Hegstrom, are all currently unhoused, and because RonDel Applebee

is currently threatened with the prospect of becoming unhoused soon and because

he is deeply invested in the well-being of his loved ones who remain unhoused, all

Representative Plaintiffs have the same goals and interests as the rest of their class.

They want meaningful solutions to the housing crisis, which starts with putting an


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end to resource-intensive evictions that are widely known to only exacerbate the

very problems that they purport to address.

                                    Type of Action

      A class action may be brought when “the party opposing the class has acted

or refused to act on grounds that apply generally to the class, so that final

injunctive relief or corresponding declaratory relief is appropriate respecting the

class as a whole.” FED. R. CIV. PRO. 23(b)(2). Here, the requested relief is for

Defendant to be enjoined from evicting Plaintiffs when they have nowhere else to

live, and from seizing and destroying their property. That relief, the cessation of

evictions, would benefit the whole class of residents at Camp Nenookaasi.

Plaintiffs here request an “available approach that is gaining ground in class action

lawsuits,” wherein Representative Plaintiffs seek injunctive relief on behalf of the

whole class, and then evaluate damages on an individual basis. Ebert v. General

Mills, Inc., 823 F.3d 472, 480 (8th Cir. 2016).

                           FACTUAL BACKGROUND

   The Repeated Forced Relocation of Camp Nenookaasi by Defendant Frey
   Continues a Centuries-Old Legacy of Displacement of Indigenous Peoples.
     80.    Camp Nenookaasi was Indigenous-led, and its residents were

predominantly people of Indigenous ancestry and/or enrolled Native American

tribal members. Evicting Camp Nenookaasi was the latest iteration in a




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centuries-old pattern whereby colonizing governments forcibly displaced

Indigenous peoples from stolen land for political, personal, and/or financial gain.

      81.    Systemic and genocidal2 displacement has typified the relationship

between the colonizing governments of Europe, the U.S., and its territorial and

subsequent state governments, and Indigenous peoples from their first contact.

      82.    The State of Minnesota has been no exception. It portrayed the

original occupants of this land as disposable and subhuman, at best inconveniences

that posed barriers to putting the land to “better” (i.e., more profitable) uses. As a

report read at a 1901 meeting of Governor Ramsey’s Executive Council described:

       The object of [the 1841 Treaty of Governor Doty] was not to
       open the country for settlement, but primarily to provide a
       location for the Winnebago Indians, who, since the cession of
       their lands in 1837, had been on the government’s hands under

2
 Use of the word “genocidal” to reflect the relationship between settler-colonizers and
Indigenous peoples is intentional and not hyperbolic. The Holocaust Museum in Houston gives a
cursory overview of this genocide as follows:

     When European settlers arrived in the Americas, historians estimate there
     were over 10 million Native Americans living there. By 1900, their
     estimated population was under 300,000. Native Americans were subjected
     to many different forms of violence, all with the intention of destroying the
     community. In the late 1800s, blankets from smallpox patients were
     distributed to Native Americans in order to spread disease. There were
     several wars, and violence was encouraged; for example, European settlers
     were paid for each Penobscot person they killed. In the 19th century, 4,000
     Cherokee people died on the Trail of Tears, a forced march from the
     southern U.S. to Oklahoma. In the 20th century, civil rights violations were
     common, and discrimination continues to this day.

Genocide of Indigenous Peoples, HOLOCAUST MUSEUM OF HOUSTON, https://hmh.org/library/
research/genocide-of-indigenous-peoples-guide/ (last visited Apr. 24, 2022).

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      promise of a permanent home; and, secondarily, to furnish
      reservations for a number of other tribes similarly situated. In
      short, it was designed to create of the Sioux country a second
      Indian Territory, into which to dump all the odds and ends of
      Indian tribes still left east of the Mississippi. Fortunately,
      however, this treaty failed of confirmation by the Senate, and
      thus this vast and fertile territory was saved to a grander
      destiny.
      Thomas Hughes, Report on the 1841 Treaty of Governor Doty,
      Executive Council Meeting (Sept. 9, 1901), available at
      https://tile.loc.gov/storage-services/service/gdc/lhbum/0866e/08
      66e _0125_0154.pdf.
     83.    Minnesota’s “grander destiny” meant that Indigenous people would be,

once again, forcibly or duplicitously relocated so that the land could be cleared for

colonists’ settlement. Id.

     84.    Plaintiffs are evicted repeatedly from lands previously taken from its

original Indigenous stewards through deception, bad faith, duress, and violence

more than a century ago. See generally Minnesota Historical Society, “Minnesota

Treaties,” The U.S.-Dakota War of 1862,

https://www.usdakotawar.org/history/treaties/minnesota-treaties.

     85.    Indigenous displacement persists today, particularly in the East Phillips

neighborhood. Defendant targets the disproportionately Indigenous unhoused

population with eviction after eviction, moving people from one block to another

indefinitely in an attempt to make them go away.




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 Defendant Frey Pursues an “End to Homelessness” Through Cruel, Repeated
 Displacements of Unhoused Minneapolis Residents with Nowhere Else to Live.
     86.    Under the guise of his campaign promise to “end homelessness in five

years,” Defendant Frey has worked to keep unhoused people destabilized and on

the move.

     87.    Defendant Frey has overseen the routine dismantling of encampments

since he took office in 2018, with significant brutality and negligible support for

evicted residents aside from taking credit for what other organizations, community

members, and residents themselves have managed to pull together.

     88.    When the Wall of Forgotten Natives was first cleared in 2018, newly

elected Defendant Frey and the police he commands played a muted role: instead,

local nonprofits, Red Lake Nation, and others in city government spent countless

hours and millions of dollars to transition the 175 residents from the encampment

to temporary shelter. Deena Winter, Minnesota Reformer, “Powderhorn Park

residents win reprieve from eviction, for now” July 2, 2020 (last viewed Dec. 17,

2023) https://minnesotareformer.com/2020/07/02/powderhorn-park-residents-

win-reprieve-from-eviction-for-now/.

     89.    When the encampment at Powderhorn Park formed in spring of 2020,

Defendant Frey became a vocal critic of the encampment, although he

simultaneously recognized there were no other places where all of the

encampments residents could live. Id. and @WedgeLIVE, Twitter (July 2, 2020


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3:55 PM) https://twitter.com/WedgeLIVE/status/1278779243116130304?s=20

(“[T]he city doesn’t have the resources or ability to meet the significant and

immediate need [of the Powderhorn Park residents].”). In fact, Defendant Frey

tacitly acknowledged that the encampment size was growing because so many

people were coming to access services. Id.

     90.    As Defendant Frey himself admitted, the reason unhoused people

moved to the encampment was because residents there were better able to access

treatment and housing services. Id. Nonetheless, he continued to oppose the

encampment, suggesting that he would prefer that the symptoms of poverty and

houselessness—including overdoses and illness, heatstroke and freezing to

death—occur at higher rates in hidden and isolated ways, rather than have people

gather in centralized communities like Nenookaasi or the Powderhorn encampment

to improve their lives through supports that are otherwise unavailable to them.

     91.    By August of 2020, Defendant Frey got his way. Over widespread

public opposition, he ordered the Powderhorn Park encampment to be evicted and

destroyed. Niko Georgiades, Unicorn Riot, “Minneapolis Police Sweep West

Powderhorn Encampment, Pepper Spray Defenders” August 15, 2020 (last viewed

Dec. 17, 2023)

https://unicornriot.ninja/2020/minneapolis-police-sweep-west-powderhorn-encamp

ment-pepper-spray-defenders/. Mayor Frey first threatened the encampment


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residents with an eviction notice, and then threatened residents with armed police

officers, chemical irritants, and drawn weapons. Id. At his behest, Minneapolis

police officers physically pulled people out of their tents, arrested them, bulldozed

their belongings, and threw everything into dumpsters. Id.

     92.    The destruction of these two large encampments are just the tip of the

iceberg. Plaintiffs have been forcibly displaced so many times that most have lost

count. For Minneapolis’ unhoused population, these evictions are not only

frequent, but disastrous when considered in isolation as well as cumulatively.

     93.    When encampments are demolished, former residents do not simply

disappear. They are uprooted from their homes, forced to find a new place to

sleep, a new shelter against the elements, new bedding to keep them warm, because

their only protection against freezing winter nights is now crumpled in a dumpster.

     94.    Some relapse or overdose, turning to substance use to numb the stress,

pain, and hopelessness. Residents lose critical identification, paperwork, and cell

phones, lose their connection to outreach workers and resources, lose their spot on

waist lists for housing and treatment, and miss appointments and court dates. They

are stolen and sex-trafficked, go missing, and are murdered. When residents lose

the stability of an encampment, they lose the relationships with social workers,

substance use counselors, lawyers, and other members of the community who had

been depending on the encampment to be able to locate their clients. This reverses


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progress made towards attaining sobriety, applying for jobs, clearing arrest

warrants, and obtaining permanent housing.

     95.    Defendant Frey campaigned on a promise to “end homelessness.” But

in actuality, his promise appears to have been more that he would hide

homelessness, even at the expense of prolonging and exacerbating it. Defendant

Frey eradicated the hugely successful bridge to long-term and permanent housing

that was Camp Nenookaasi and any semblance of stability its former residents have

attempted to regain since.

  Nenookaasi was a Necessary Stopgap due to the Housing Crisis and Lack of
    Available and Humane Alternative Places for Unhoused People to Live
     96.    As of October 2023, the median monthly rent in Minneapolis was

$1,127 for a one bedroom unit and $1,500 for a two bedroom. HousingLink,

Minneapolis Rental Housing Brief (October 2023). Housing providers screen

applicants and require them to have an income of 2.5 times the rent, id., but since

at least some manner of housing is functionally a prerequisite to employment it

becomes almost impossible to break out of the cycle of homelessness without

external support. Still, Mayor Frey is committed to blocking rent control initiatives.

     97.     Some local housing resources exist, but accessing public housing can

be a long process as outreach workers must meet with clients and others repeatedly

over time to gather documents and paperwork, resolve warrants, etc. People must




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have a consistent meeting place to regularly connect with outreach workers

towards their housing goals.

      98.   Shelters simply do not have enough beds, or even mats on the floor, to

provide a space for everyone who might need a place to sleep. Every night would

be a gamble, for someone to rely on a shelter for stability, which is unsafe and

unrealistic. What shelter resources do exist are highly inaccessible, particularly

outside of the Hennepin Shelter Hotline’s hours and for those with mental and

physical disabilities. Unhoused people find shelters to be unsafe hubs of disease,

violence, and theft where people are frequently discriminated against, mistreated,

and kicked out.

      99.   The Mayor claimed that 90 new shelter beds would be made available

January 1 and 2, 2024, in anticipation of the January 4, 2024 eviction of

Nenookaasi. In practice, this additional capacity did not materialize, and in fact the

available shelter resources are currently slated to decline, as residents, supporters,

and City Council members have repeatedly noted.

      100. Shelters are fundamentally unstable. Each morning people are kicked

out and face another day of wondering if they will manage to procure a spot at a

shelter the next night, and what they will do if, as is likely given the fact that spots

fill up sometimes less than an hour after the hotline opens, they cannot obtain one.

Shelters provide people with no means of keeping belongings safe, nowhere to go


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during the day, and above all else no sense of community or the opportunity to

build the kinds of life-saving relationships that a stable encampment can engender.

     101. At Camp Nenookaasi, residents could provide for themselves and each

other to create a stable stepping-stone home that bypassed the significant

challenges, dangers, and uncertainties that plague the existing shelter system.

Stable encampments create an environment that allows Plaintiffs not only to

survive being homeless, but also to transition out of homelessness.

     102. Unfortunately, Defendant Frey’s eviction campaign is dead set on

keeping Plaintiffs trapped in this cycle, ordering law enforcement and bulldozers to

destroy any stability Plaintiffs manage to build for themselves.

  Defendant Frey, Over Objections from City Council and Other Government
 Officials, Ordered Repeated Evictions of Nenookaasi and Subsequent Camps.
     103. The initial Nenookaasi eviction announcements and delays reflected

the tension between Defendant Frey and the significant block of Minneapolis

officials who recognized that Camp Nenookaasi filled life saving gaps in services

for unhoused residents during a Declared Public Health Emergency of Unsheltered

Homelessness. See, e.g., Minneapolis Public Health & Safety Committee Meeting,

Jan. 31, 2024, available at https://www.youtube.com/live/IgD6sB6GkXI?feature.

     104. With tireless advocacy from organizers, community members, and

residents, City Council affirmed the humanitarian and civil rights concerns with

impending and ongoing evictions. Council members called for a halt to evictions,


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noting the benefits of encampments to neighborhoods more broadly, as well as to

the residents themselves. Organizations across the city join them in calling for

more support to Nenookaasi and its successors as interim solutions to the housing

crisis, while working together to devise and implement more permanent remedies.

     105. Prior to the first Nenookaasi eviction, residents and organizers held a

meeting with City Council and several members of the Minneapolis government.

The only invited government official who chose not to attend was Defendant Frey.

     106. Defendant Frey continually reveals his knowing disregard for the

health, safety, and wellbeing of Indigenous and unhoused people through this

refusal to collaborate, continued opposition to solutions, and ongoing evictions.

     107. Defendant purports to have reasonable policies and procedures in place

during evictions to safeguard Plaintiffs’ constitutional and statutory rights. At the

first Nenookaasi eviction, with a large crowd of supporters, politicians, and media

to bear witness, residents were given almost a week’s notice and an opportunity to

make several trips to retrieve their belongings. But this highly publicized eviction

was a performance: since then evictions happen without any notice. Plaintiffs risk

arrest or physical harm should they attempt to flee with anything more than one or

two armloads’ worth of belongings.

     108. Plaintiffs only become aware that they are being evicted when they

wake in the morning to the sound of drones flying overhead, law enforcement


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yelling at them to get up and leave, and City and law enforcement vehicles staging

on the streets around them. Even social service agencies who Defendant claims are

on site to assist residents are often not notified of evictions but instead find out

when street closures and law enforcement staging areas disrupt their morning

commutes to work or school.

      109. Residents are made to understand that they will be arrested–or

bulldozed–if they delay in packing up and leaving, which threats force them to rush

to gather their belongings in an atmosphere of panic and fear. They are sometimes

too afraid of being arrested to wait for service providers or supporters to arrive.

      110. Regardless of what policies the Defendant may point to on the City’s

website, shelter beds, housing, and storage are not meaningfully available to

Plaintiffs before or during evictions.

      111. Storage opportunities are limited to nonexistent, offered in only

specific instances to particular residents who happened to present at the time, and

often in circumstances that are untrustworthy, impractical, or entirely unusable.

Plaintiffs either have no idea that storage is ostensibly available to them, and/or

have no way of utilizing the storage facility all the way downtown, or know that

storage is not a viable option due to restrictions and the practical matter of needing

regular access to their belongings.




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      112. After the evictions, city workers haul and dump rubble on the vacated

lots to render old sites unusable and inaccessible to Plaintiffs. Hundreds of

thousands of City dollars that are earmarked for responding to the crisis of

homelessness have instead gone to pay for putting fences up around empty land.

      113. The Mayor’s office espouses a goal of deterring encampments. The

intentional and arbitrary destruction of the City’s own (stolen) land reveals the

Mayor’s strategy: to ensure that unhoused people have fewer and fewer places they

are allowed to be.

      114. As relentless evictions continue, many Plaintiffs suffer relapses or

overdoses because of the stress that evictions bring on. Losing family heirlooms,

connections to friends and service providers, identification, and shelter causes

other cascading setbacks and increased challenges in attempting to attain sobriety,

housing, employment, and other forms of permanent stability. People go missing

altogether after the evictions, or lose their loved ones.

      115. Without the injunctive relief Plaintiffs now seek, they will be stuck in

this pointless cycle until they die or until they run out of places to relocate to.




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                               CAUSES OF ACTION

                                      COUNT I:
  Unlawful Seizure & Destruction of Plaintiffs’ Property in Violation of the
Fourth Amendment of the United States Constitution and Article I, Section 10
                      of the Minnesota Constitution
      116.   Plaintiffs reallege and incorporate the preceding paragraphs as if fully

set forth herein.

      117. The Fourth Amendment to the United States Constitution and its

identically worded counterpart, Article I Section 10 of the Minnesota Constitution,

afford all civilians in the United States the right “to be secure in their persons,

houses, papers, and effects, against unreasonable searches and seizures.”

      118. This Constitutional Right protects Plaintiffs’ homes and belongings as

unhoused persons with expectations of privacy over their guarded belongings. See,

e.g., State v. Pippin, 200 Wn. App. 826 (Wash. Ct. App. 2017) (finding that an

unhoused person had privacy interests in their tent). “The Fourth Amendment

protects homeless individuals from seizure and summary destruction of their

unabandoned, but temporarily unattended, personal property.” Coalition on

Homelessness v. City and County of San Francisco, 647 F. Supp. 3d 806, 837 (N.D.

Cal. 2022) (citing Lavan v. City of Los Angeles, 693 F.3d 1022) (abrogated on

other grounds by City of Grants Pass, Oregon v. Johnson, 144 S.Ct. 2202 (2024)).

      119. The repeated seizures and destruction of Plaintiffs’ property during the

evictions of Camp Nenookaasi and its successors constitute meaningful

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interference with Plaintiffs’ possessory interests in their property, and thus a

“seizure.” Id.

      120. Defendant Frey’s repeated seizure and destruction of Plaintiffs’

property without a valid warrant, probable cause, or exigent circumstances is

unreasonable and contrary to the Fourth Amendment to the U.S. Constitution, as

applied to State governments and their subdivisions pursuant to the Fourteenth

Amendment and 42 U.S.C. § 1983, and Article I, Section 10 of the Minnesota

Constitution.

      121. Defendant Frey’s policies, practices, and custom of directing his law

enforcement officers to seize and destroy Plaintiffs’ property without a valid

warrant, probable cause, or exigent circumstances is unreasonable and contrary to

the Fourth Amendment to the U.S. Constitution, as applied to State governments

and their subdivisions pursuant to the Fourteenth Amendment and 42 U.S.C. §

1983, and Article I, Section 10 of the Minnesota Constitution.

                                     COUNT II:

 Procedural Due Process Violations Under the Fourteenth Amendment of the
     United States Constitution and Article I, Section 7 of the Minnesota
                                Constitution
      122. Plaintiffs reallege and incorporate the preceding paragraphs as if fully

set forth herein.




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      123. Plaintiffs have a constitutionally protected property interest in their

personal belongings and effects.

      124. Defendant Frey’s repeated seizure and destruction of Plaintiffs’

property deprives them of this protected interest in their personal belongings and

effects.

      125. Defendant Frey’s repeated seizure and destruction of Plaintiffs’

property without adequate and effective notice, an opportunity to be heard, and

pre- and post-deprivation mechanisms to challenge and reclaim their property

violates Plaintiffs’ rights to Due Process of law protected by the Fourteenth

Amendment to the U.S. Constitution, through 42 U.S.C. § 1983, and Article I,

Section 7 of the Minnesota Constitution.

      126. Defendant Frey’s policy, pattern, and custom of seizing and destroying

Plaintiffs’ property without adequate and effective notice, an opportunity to be

heard, and pre- and post-deprivation mechanisms to challenge and reclaim their

property violates Plaintiffs’ rights to Due Process of law protected by the

Fourteenth Amendment to the U.S. Constitution, through 42 U.S.C. § 1983, and

Article I, Section 7 of the Minnesota Constitution.




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                                     COUNT III:
  State-Created Danger in Violation of the Right to Substantive Due Process
 Under the Fourteenth Amendment of the United States Constitution and the
                          Minnesota Constitution
      127. Plaintiffs reallege and incorporate the preceding paragraphs as if fully

set forth herein.

      128. Plaintiffs are members of a limited, precisely definable group.

      129. Defendant Frey’s prior and continued impending use of bulldozers and

armed law enforcement officers when forcefully ejecting Plaintiffs from their only

shelters, without adequate notice, places Plaintiffs at significant risk of serious,

immediate, and proximate harm that Plaintiffs would not otherwise have faced

without Defendant’s actions.

      130. Defendant refuses to provide and/or adequately service port-a-potties,

trash pick-up, and other simple, life-saving sanitation facilities at encampments.

Residents inevitably fall ill due to diseases that would be entirely preventable with

such facilities. Defendant uses the foreseeable consequences of intentionally under

resourcing camps as the basis for ordering emergency personnel not to respond to

treat people within encampments.

      131. Repeated evictions force Plaintiffs to remain vulnerable and trapped in

cycles of homelessness, where they are then preyed upon by human traffickers,

drug dealers, arsonists, and murderers, which the City then declines to investigate.



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      132. The risk to Plaintiffs created by Defendant Frey’s conduct was and

remains obvious and known to him.

      133. Defendant Frey’s prior and impending actions in repeatedly Plaintiffs

and forcing Nenookaasi to disband were done recklessly and in conscious

disregard of the risks they have previously created and continue to create because

of the forceful manner in which his law enforcement officers have ejected and plan

to continue ejecting Plaintiffs from their shelters, destroying their vital personal

property in the process.

      134. Defendant Frey’s conduct, as outlined in this Complaint and articulated

by numerous outraged residents and neighbors at public comment hearings

throughout the past year, shocks the conscience.

      135. As a direct and proximate consequence of Defendant Frey’s

above-described policy, pattern, and custom, Plaintiffs were and continue to be

subjected to danger of Defendant’s own making in violation of the Fourteenth

Amendment to the United States Constitution, through 42 U.S.C. § 1983, and the

Minnesota Constitution.

                                     COUNT IV:
                    Intentional Infliction of Emotional Distress
      136. Plaintiffs reallege and incorporate the preceding paragraphs as if fully

set forth herein.



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     137. “The tort of intentional infliction of emotional distress requires proof

that: (1) the conduct complained of was extreme and outrageous; (2) the conduct

was intentional or reckless; (3) the conduct caused emotional distress; (4) and the

distress suffered was severe.” Kelly v. City of Minneapolis, 598 N.W. 657, 666

(1999) (citing Hubbard v. United Press Int'l, Inc., 330 N.W.2d 428, 438-39

(Minn.1983)). A Defendant’s conduct must “pass[] the boundaries of decency” and

be “utterly intolerable to the civilized community.” Id.

     138. Defendant’s commitment to evictions, in the face of evidence,

testimony, and public outcry that evictions actually exacerbate the harms used to

justify them, is outrageous.

     139. It is outrageous to evict Indigenous people from their own ancestral

homelands.

     140. It is utterly intolerable to spend money that was earmarked for helping

unhoused people on building fences to keep them out of the only places they feel a

modicum of safety.

     141. It is extreme to push the same group of people from one vacant lot to

another in the same half-mile radius instead of providing them with basic hygiene

supplies.




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      142. It is deplorable to blame the violence of people who prey on the City’s

most vulnerable constituents on those constituents themselves, as a pretext for not

defending or supporting them.

      143. It is cruel to promise to provide unhoused people with housing,

storage, and shelter beds, and to then blame those same people for not accessing

them, when in fact these services are inadequate, inhumane, inaccessible, or even

wholly nonexistent.

      144. The trauma of repeatedly being told you do not belong, of repeatedly

being exposed to dangerous elements of all sorts, of having your family heirlooms

and pictures of your children considered to be garbage, of falling asleep every

night not knowing whether you will wake up to law enforcement shouting you out

of your only shelter, this is the result of behavior that can only be described as

outrageous and causes severe and devastating impacts on Plaintiffs’ emotional

stability and will to survive.

      145. These evictions are intentional; Defendant orders them to occur and

maintains full control over the agencies carrying them out. Defendant has had

every opportunity, including by official actions taken by his own City Council, to

learn about the severe devastation his evictions cause to Plaintiffs and other

unhoused residents of Minneapolis. His decision to continue ordering eviction after

eviction is nothing short of disturbingly well-informed.


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                                     COUNT V:

 Violation of Title II of the Americans with Disabilities Act, 42 U.S.C. § 12131
                                     et seq.

      146. Plaintiffs reallege and incorporate the preceding paragraphs as if fully

set forth herein.

      147. Title II of the Americans with Disabilities Act (ADA), 42 U.S.C. §

12132, prohibits discrimination against people with disabilities by state and local

governments and their programs. Title II provides that “no qualified individual

with a disability shall, by reason of such disability, be excluded from participation

in or be denied the benefits of the services, programs, or activities of a public

entity, or be subjected to discrimination by any such entity.”

      148. As a public entity, Defendant Frey is required to comply with Title II

of the ADA, and the actions of Defendant alleged in this Complaint, in his official

and individual capacity, relate to services, programs, and activities under Title II.

      149. Discrimination under Title II of the ADA includes administration of

programs in a manner that has a discriminatory effect on people with disabilities,

or that has the “effect of defeating or substantially impairing the accomplishment

of the objectives of the service, program, or activity with respect to individuals

with disabilities.” 28 C.F.R. § 35.130(f).

      150. Plaintiffs, the residents of Camp Nenookaasi, are individuals with

physical and/or mental disabilities, disorders, and/or conditions including

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substance use disorders, and thus are “qualified persons with disabilities” as

defined under the ADA.

     151. Defendant Frey’s repeated evictions of Camp Nenookaasi residents

disparately impact people with disabilities, in violation of the ADA—the people

whom Defendant Frey has forcibly removed from their homes and deprived of

their personal property under threat of incarceration, and whom Defendant Frey

continues to threaten with such treatment, are disproportionately (and exclusively)

people with disabilities. The ADA prohibits such discrimination.

     152. Even if there were sufficient shelter beds or storage meaningfully

available—which is not the case—placement in large, crowded shelters where

people are forced to sleep on mats on the ground and permitted to stay only upon

compliance with rigid rules are unsuitable for people with disabilities because of

their disability-related impairments. Nor is storage downtown feasible for people

with limited mobility, difficulty traveling, and the need to access stored belongings.

     153. Repeated evictions Plaintiffs without first identifying and offering

appropriate alternative shelter and storage for belongings that meet their

disability-related needs does not serve any compelling governmental interest.

     154. Furthermore, Defendant Frey’s duty not to discriminate against people

with disabilities under Title II of the ADA includes a duty to provide reasonable

modifications in otherwise neutral policies or practices “when the modifications


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are necessary to avoid discrimination on the basis of disability, unless the public

entity can demonstrate that making the modifications would fundamentally alter

the nature of the service, program, or activity.” 28 C.F.R. § 35.130(b)(7)(i).

     155. Plaintiffs have repeatedly asked Defendant Frey to postpone the

repeated evictions of Camp Nenookaasi until appropriate alternative

shelter—shelter that would meet Plaintiffs’ disability related needs—is made

available. Existing shelter beds are neither sufficient in number to house all

Nenookaasi residents, nor are they at all appropriate to meet Plaintiffs’ needs

related to their physical and/or mental disabilities, disorders, and/or conditions

including substance use disorders.

     156. In response to these repeated requests—from Plaintiffs, their

supporters, City councilmembers, and undersigned counsel—Defendant Frey not

only proceeded with the eviction of Camp Nenookaasi on January 4, 2024, but has

repeated the evictions again and again no matter where residents have sought

refuge.

     157. A temporary halt to the ongoing evictions of Camp Nenookaasi

residents until there is a realistic and appropriate alternative housing option for

residents would not impose a fundamental alteration in Defendant Frey’s programs.

To the contrary, it would serve his purported goal to “end homelessness.”




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      158. By refusing such reasonable accommodations, Defendant Frey has

violated and continues to violate Title II of the ADA.

      159. Finally, Defendant Frey’s repeated evictions of Camp Nenookaasi

residents and refusal to postpone the evictions until a reasonable accommodation

can be made, amounts to intentional discrimination against Plaintiffs on the basis

of their disability.

      160. Defendant Frey knows that the residents of Camp Nenookaasi—an

Indigenous healing camp serving people struggling with substance use disorder and

others with qualified disabilities under the ADA—are disproportionately if not

exclusively people with disabilities.

      161. Defendant Frey is aware, and has been made aware, that existing

shelter “beds” are not a realistic or appropriate housing alternative for Camp

Nenookaasi residents, including for reasons related to their disabilities, and that

residents have requested reasonable alternative housing.

      162. Nevertheless, Defendant Frey has refused requests to halt evictions

despite his knowledge that residents lack any meaningful and appropriate housing

alternative.

      163. In doing so, Defendant Frey is administering programs in a way that

intentionally discriminates against Plaintiffs, as people with disabilities and on the

basis of those disabilities.


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                               DECLARATORY RELIEF

      164. Plaintiffs reallege and incorporate the preceding paragraphs as if fully

set forth herein.

      165. An actual controversy exists between Plaintiffs and Defendant Frey.

Defendant Frey has repeatedly engaged in the unlawful and unconstitutional acts

set forth herein and has announced his plans to continue doing so.

      166. Plaintiffs have suffered, will continue to suffer, and will face imminent

and increased suffering as a result of Defendant Frey’s unlawful behavior.

Plaintiffs seek a declaration of their rights with regard to this controversy and a

declaration that Defendant Frey’s policies, practices, and customs as set forth

herein violate those rights under the United States and Minnesota Constitutions,

state tort law, and the Americans with Disabilities Act.

                                 PRAYER FOR RELIEF

WHEREFORE, Plaintiffs respectfully ask this Honorable Court for the following

relief:

   1. For preliminary and permanent injunctive relief enjoining Defendant Frey

          and his officials, employees, agents, officers, assigns, and all those working

          in concert with him from evicting encampments in East Phillips, unless and

          until safe, adequate, accommodative of disability, culturally appropriate,

          stable housing can be guaranteed and provided to all residents or unless such


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      evictions are temporary relocations conducted in the same manner as law

      enforcement might clear an apartment or school in the case of an active

      shooter or a house fire;

   2. For declaratory relief, pursuant to 28 U.S.C. §§ 2201, 2202, and Rule 57 of

      the Federal Rules of Civil Procedure, as requested above;

   3. For compensatory and punitive damages, in amounts to be determined in

      future proceedings, against Defendant Frey;

   4. For an award of attorneys’ fees and costs pursuant to 42 U.S.C. § 1988; and

   5. For any other relief that this Honorable Court deems equitable and just.

                                 JURY DEMAND

      Plaintiffs hereby demand a trial by jury pursuant to Federal Rule of Civil

Procedure 38(b) on all issues so triable.

                                                    Signed,

Date: September XX, 2024                            ____________________
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